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Kevin T. Lafky, OSB#852633
klafky@lafky.com
Christopher M. Edison, OSB#183318
cedison@lafky.com
Lafky & Lafky
429 Court Street NE
Salem, OR 97301
Telephone: (503) 585-2450
Facsimile: (503) 585-0205
Attorneys for Plaintiff

                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

HOWARD GROBSTEIN, as Chapter 7                  Case No. 3:18-cv-01916-HZ
Bankruptcy Trustee for, BLANCA
AGUIRRE,

               Plaintiff,
                                                PRETRIAL ORDER
               v.

PORT OF PORTLAND, a Municipal
Corporation, THOMAS T. KO, an individual,
JEREMY HEPP, an individual, JACOB
CASSITY, an individual, JERRY
SALDIVAR, an individual, POLLIN
HOTELS II, LLC, an Oregon limited
liability company, doing business as
SHERATON PORTLAND AIRPORT
HOTEL, STARWOOD HOTELS &
RESORTS WORLDWIDE, LLC, a foreign
limited liability company doing business as
and CANTERBURY HOTEL GROUP, an
Oregon company, doing business as FOUR
POINTS BY SHERATON PORTLAND
EAST,

               Defendants.


      This pretrial order is submitted pursuant to LR 16-5.

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1.      NATURE OF THE ACTION

        Plaintiff alleges seven claims. Plaintiff alleges an assault claim and a battery claim

against Defendant Port of Portland. Plaintiff alleges a claim under: 42 U.S.C § 1983 against

Defendants Thomas T. Ko, Jeremy Hepp, Jeremy Cassity, and Jerry Saldivar. Plaintiff alleges a

defamation claim against Defendant Pollin Hotels, II, LLC. Defendants deny all allegations.

Trial will be to a jury.

2.      SUBJECT MATTER JURISDICTION

        This court has jurisdiction over Plaintiff’s 42 U.S.C. § 1983 claims pursuant to 28 U.S.C.

§ 1331, and supplemental jurisdiction over Plaintiff’s state law claims, pursuant to 28 U.S.C. §

1367.

3.      AGREED FACTS

        (1) Howard Grobstein, is the Chapter 7 Bankruptcy for Blanca Aguirre. Blanca Aguirre

(“Plaintiff”) was a resident of California and traveling through Portland, Oregon on or about

October 25, 2017.

        (2) Plaintiff timely served a Tort Claim Notice of her claims to Defendant Port of

,Portland.

        (3) Plaintiff is a Hispanic female whose first language is Spanish.

        (4) Defendant Port of Portland (“the Port”) is a port district and municipal corporation of

the State of Oregon with its principal place of business in the City of Portland, Multnomah

County, Oregon.

        (5) The Port owns and operates the Portland International Airport, located at 7000 NE



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Airport Way, in Portland, Multnomah County, Oregon, as well as the Port of Portland police.

       (6) Defendant Thomas T. Ko (“Officer Ko”) was an employee of the Port of Portland

police and acting as a law enforcement officer within the scope of his employment/agency and

acting under color of law.

       (7) Defendant Jeremy Hepp (“Sergeant Hepp”) was an employee of the Port of Portland

police and acting as a law enforcement officer within the scope of his employment/agency and

acting under color of law.

       (8) Defendant Jacob Cassity (“Officer Cassity”) was an employee of the Port of Portland

police and acting as a law enforcement officer within the scope of his employment/agency and

acting under color of law.

       (9) Defendant Jerry Saldivar (“Officer Saldivar”) was an employee of the Port of

Portland police and acting as a law enforcement officer within the scope of his

employment/agency and acting under color of law.

       (10) Defendant Pollin Hotels II, LLC, (“Pollin”).is an Oregon limited liability company,

doing business as Sheraton Portland Airport Hotel located at 8235 NE Airport Way in Portland,

Oregon

         (11) Plaintiff was at the Portland International Airport (“PDX”) traveling home to Palm

Springs, California on the evening on October 24, 2017.

         (12) Mr. Tate is now deceased.

         (13) Defendants had probable cause to arrest plaintiff.

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4.    CLAIMS AND DEFENSES

                                          CLAIM TWO

                             BATTERY - against Port of Portland

(A)   Plaintiff contends:

      (1)     Defendant Port of Portland’s employees and/or agents intentionally caused

              harmful and offensive contact to Plaintiff by using substantially more physical

              force than reasonably necessary during her arrest on October 24, 2017.

      (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

              economic damages and $500,000 in non-economic damages, as a result of

              Defendants’ employees and/or agents conduct.

(B)   Defendants contend:

      (1)     Defendants deny plaintiff’s contentions.

      (2)     Plaintiff’s complaint fails to state a claim for relief.

              (3)     Defendants had probable cause and full authority to arrest and detain

      plaintiff and used the amount of force they reasonably believed was necessary to arrest

      plaintiff.

      (4)     Plaintiff has failed to mitigate her damages.




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                                         CLAIM THREE

                             ASSAULT - against Port of Portland

(A)   Plaintiff contends:

      (1)     Defendant Port of Portland’s employees and/or agents, acting under color or law,

              caused Plaintiff to reasonably fear imminent harmful or offensive physical

              contact with Plaintiff’s person during her arrest on October 24, 2017.

      (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

              economic damages and $500,000 in non-economic damages, as a result of

              Defendant’s conduct.

(B)   Defendants contend:

      (1)     Defendants deny plaintiff’s contentions.

      (2)     Plaintiff’s complaint fails to state a claim for relief.

              (3)     Defendants had probable cause and full authority to arrest and detain

      plaintiff and used the amount of force they reasonably believed was necessary to arrest

      plaintiff.

      (4)     Plaintiff has failed to mitigate her damages.

                                              CLAIM FIVE

        VIOLATION OF 42 U.S.C § 1983 - Fourth Amendment (Officer Thomas T. Ko)

(A)   Plaintiff contends:

      (1)     Plaintiff’s Fourth Amendment right from unreasonable seizure was violated when

              Officer Thomas T. Ko restrained Plaintiff of her personal freedom and ability to

              move freely during the arrest that occurred on October 24, 2017, and was



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              objectively unreasonable in the light of the circumstances.

      (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

              economic damages and $500,000 in non-economic damages, as a result of

              Defendant’s conduct and request reasonable attorney fees and costs.

(B)   Defendants contend:

      (1)     Defendants deny plaintiff’s contentions.

      (2)     Plaintiff’s complaint fails to state a claim for relief.

              (3)     Defendants had probable cause and full authority to arrest and detain

      plaintiff and used the amount of force they reasonably believed was necessary to arrest

      plaintiff.

      (4)     Plaintiff has failed to mitigate her damages.

      (5)     Defendant Ko is entitled to qualified immunity.

                                           CLAIM SIX

      VIOLATION OF 42 U.S.C § 1983 - Fourth Amendment (Officer Jacob Cassity)

(A)   Plaintiff contends:

      (1)     Plaintiff’s Fourth Amendment right from unreasonable seizure was violated when

              Officer Jacob Cassity restrained Plaintiff of her personal freedom and ability to

              move freely during the arrest that occurred on October 24, 2017, and was

              objectively unreasonable in the light of the circumstances. .

      (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

              economic damages and $500,000 in non-economic damages, as a result of

              Defendant’s conduct and request reasonable attorney fees and costs.



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(B)    Defendants contend:

       (1)     Defendants deny plaintiff’s contentions.

       (2)     Plaintiff’s complaint fails to state a claim for relief.

               (3)     Defendants had probable cause and full authority to arrest and detain

       plaintiff and used the amount of force they reasonably believed was necessary to arrest

       plaintiff.

       (4)     Plaintiff has failed to mitigate her damages.

       (5)     Defendant Cassity is entitled to qualified immunity.

                                          CLAIM SEVEN

      VIOLATION OF 42 U.S.C § 1983 - Fourth Amendment (Officer Jerry Saldivar)

(A)    Plaintiff contends:

       (1)     Plaintiff’s Fourth Amendment right from unreasonable seizure was violated when

               Officer Jerry Saldivar restrained Plaintiff of her personal freedom and ability to

               move freely during the arrest that occurred on October 24, 2017, and was

               objectively unreasonable in the light of the circumstances. .

       (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

               economic damages and $500,000 in non-economic damages, as a result of

               Defendant’s conduct and request reasonable attorney fees and costs.

(B)    Defendants contend:

       (1)     Defendants deny plaintiff’s contentions.

       (2)     Plaintiff’s complaint fails to state a claim for relief.

               (3)     Defendants had probable cause and full authority to arrest and detain



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       plaintiff and used the amount of force they reasonably believed was necessary to arrest

       plaintiff..

       (4)     Plaintiff has failed to mitigate her damages.

       (5)     Defendant Ko is entitled to qualified immunity.

                                          CLAIM EIGHT

      VIOLATION OF 42 U.S.C § 1983 - Fourth Amendment (Sergeant Jeremy Hepp)

(A)    Plaintiff contends:

       (1)     Plaintiff’s Fourth Amendment right from unreasonable seizure was violated when

               Sergeant Jeremy Hepp restrained Plaintiff of her personal freedom and ability to

               move freely during the arrest that occurred on October 24, 2017, and was

               objectively unreasonable in the light of the circumstances.

       (2)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

               economic damages and $500,000 in non-economic damages, as a result of

               Defendant’s conduct and request reasonable attorney fees and costs.

(B)    Defendants contend:

       (1)     Defendants deny plaintiff’s contentions.

       (2)     Plaintiff’s complaint fails to state a claim for relief.

               (3)     Defendants had probable cause and full authority to arrest and detain

       plaintiff and used the amount of force they reasonably believed was necessary to arrest

       plaintiff..

       (4)     Plaintiff has failed to mitigate her damages.

       (5)     Defendant Hepp is entitled to qualified immunity.



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                                           CLAIM TEN

                      DEFAMATION - against Defendant Pollins Hotel II

(A)    Plaintiff contends:

       (1)     Defendant’s employee, Michael Sean Tate, made false and defamatory statement

               concerning Plaintiff to law enforcement officials. Mr. Tate was acting within the

               scope of his employment with Defendant.

       (2)     Mr. Tate’s statements to the Officers indicated that Plaintiff had committed a

               crime by allegedly harassing hotel staff and had a tendency to injure Plaintiff.

       (3)     The statements were concerned and expressly mentioned Plaintiff. Mr. Tate’s

               statements were false and defamatory and exposed Plaintiff to arrest and

               ultimately physical injury by the law enforcement officials.

       (4)     Plaintiff suffered damages in the amount of $600,000, consisting of $100,000 in

               economic damages and $500,000 in non-economic damages, as a result of

               Defendant’s conduct.

(B)    Defendants contends:

       (1)     There is no admissible evidence of a false or defamatory statement.

       (2)     Mr. Tate did not make any statements that were false or defamatory.

       (3)     Mr. Tate was acting in his personal capacity and was not acting within the course

or scope of his employment when he interacted with law enforcement regarding his personal

contact with Plaintiff.

       (4)     Mr. Tate’s interactions with and statements to law enforcement were privileged.

       (5)     Plaintiff’s complaint fails to state a claim for relief.



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      (6)    Plaintiff has failed to mitigate her damages.

5.    OTHER LEGAL ISSUES APPROPRIATE FOR DECISION BEFORE TRIAL

      (1)    Identification and admissibility of statements allegedly made by Mr. Tate.

6.    PROPOSED AMENDMENTS TO THE PLEADINGS

      (1)    Pollin seeks to amend its Answer to include an affirmative defense that Mr.

             Tate’s allegedly defamatory statements were privileged.

DATED this 1st day of October 2021.


PLAINTIFF'S LAW FIRM                                         COUNSEL FOR DEFENDANTS



 s/ Christopher M. Edison
_______________________                                       s/ Beth Plass
                                                             _______________________
Attorney for Plaintiff                                       Attorney for Port Defendants




                                                              s/ Sean K. Conner
                                                             _______________________
                                                             Attorney for Pollin Hotels II, LLC




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Kevin T. Lafky, OSB#852633
klafky@lafky.com
Christopher M. Edison, OSB#183318
cedison@lafky.com
Lafky & Lafky
429 Court Street NE
Salem, OR 97301
Telephone: (503) 585-2450
Facsimile: (503) 585-0205
Attorneys for Plaintiff Howard Grobstein, as Chapter
7 Bankruptcy Trustee for Blanca Aguirre


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION

HOWARD GROBSTEIN, as Chapter 7                    Case No. 3:18-cv-01916-YY
Bankruptcy Trustee for, BLANCA
AGUIRRE,                                          CERTIFICATE OF SERVICE
                 Plaintiff,

v.

PORT OF PORTLAND, a Municipal
Corporation, THOMAS T. KO, an individual,
JEREMY HEPP, an individual, JACOB
CASSITY, an individual, JERRY
SALDIVAR, an individual, POLLIN
HOTELS II, LLC, an Oregon limited liability
company, doing business as SHERATON
PORTLAND AIRPORT HOTEL,
STARWOOD HOTELS & RESORTS
WORLDWIDE, LLC, a foreign limited
liability company doing business as and
CANTERBURY HOTEL GROUP, an
Oregon company, doing business as FOUR
POINTS BY SHERATON PORTLAND
EAST,
Defendants.

       I hereby certify that I have made service of the foregoing Joint Pre-Trial Order on the

counsel of the parties herein by electronic and regular mail on October 1, 2021.


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     DATED this 1 day of October 2021.

                                              s/ Christopher M. Edison
                                              Kevin T. Lafky, OSB#852633
                                              klafky@lafky.com
                                              Christopher M. Edison, OSB#183318
                                              cedison@lafky.com
                                              Lafky & Lafky
                                              429 Court Street NE
                                              Salem, OR 97301
                                              (503) 585-2450




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